                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


THE TRUSTEES OF PURDUE
UNIVERSITY,

              Plaintiff,
v.                                              CIVIL ACTION NO. 1:21-CV-840

WOLFSPEED, INC.,                                JURY TRIAL DEMANDED

              Defendant.

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff The Trustees of Purdue University, by and through its counsel, along with

Defendant Wolfspeed, Inc., by and through its counsel, and pursuant to Rule 41(a)(1)(A)(ii)

of the Federal Rules of Civil Procedure, hereby stipulate that this action is voluntarily

dismissed in its entirety, with prejudice. The parties agree that each party shall be

responsible for its own costs and fees.

       This, the 6th day of March, 2025.

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed

electronically using the Court’s CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record in this case.

       This, the 6th day of March, 2025.

                                                    /s/ L. Cooper Harrell
                                                    L. Cooper Harrell




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